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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7    DEMAS YAN,                                           Case No.11-cv-01814-RS (JSC)
                                                         Appellant,
                                   8
                                                                                             ORDER RE SANCTIONS,
                                                  v.                                         AWARD OF FEES AND COSTS,
                                   9
                                                                                             AND PRODUCTION
                                  10    CRYSTAL LEI, et al.
                                                                                             Re: Dkt. Nos. 75, 76
                                                         Appellees.
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                                  12
Northern District of California
 United States District Court




                                  13             The Court is in receipt of two items: (1) Mr. Yan’s request pursuant to Rule 59(e) that the

                                  14   Court amend its decision ordering Mr. Yan to produce his tax returns and (2) Creditor’s request

                                  15   for sanctions pursuant to 28 U.S.C. § 1927 and Rule 11. (Dkt. Nos. 75 and 76.)

                                  16             On November 3, 2017, Mr. Yan submitted for the Court’s in camera review documents

                                  17   related to the Fung assignment and sources of income, including: (1) four emails with Mr. Yan’s

                                  18   client regarding the Fung assignment, including a March 1, 2017 email from Mr. Yan with a

                                  19   description of the judgment amount and attorneys’ fees, (2) nine copies of client checks ranging

                                  20   from $300 - $3,900, and (3) four client invoices with attorney fees ranging from $3,630 - $8,730.

                                  21             After review of Mr. Yan’s documents, the Court ordered Mr. Yan to produce to Creditor

                                  22   on or before December 5, 2017 his personal tax returns for the years 2014, 2015, and 2016, and all

                                  23   of the documents submitted to the Court in camera with only the second paragraph of the March 1,

                                  24   2017 email from Mr. Yan to Florence Fung redacted. (Dkt. No. 72 at 5.) The Court also ordered

                                  25   Mr. Yan to file with the Court on or before December 5, 2017 a declaration under oath stating

                                  26   whether he produced to Creditor all documents in his possession responsive to Creditor’s requests.

                                  27   (Id.)

                                  28             On December 5, 2017 Mr. Yan filed a declaration stating (1) he intended to file a Rule 59
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                                   1   motion to request that the Court amend its Order regarding the production of Mr. Yan’s tax

                                   2   returns, (2) he would produce to Creditor the documents reviewed in camera, and (3) he had

                                   3   produced all of the documents in his possession that are responsive to Creditor’s requests. (Dkt.

                                   4   No. 74.)

                                   5          Thereafter, Creditor reapplied for an order of contempt arguing Mr. Yan produced “a

                                   6   number of documents containing wholesale redactions of critical information, namely the

                                   7   identities of the payors of monies that he recently received based on accounts receivable such that

                                   8   there is no way for Lei to levy any further amounts due.” (Dkt. No. 75 at 1:23-28.) Creditor also

                                   9   argues the Ninth Circuit has held that 28 U.S.C. § 1927 applies not only to attorneys but to

                                  10   litigants appearing in pro per. See Wages v. IRS, 915 F.2d 1230, 1235 (9th Cir. 1990). (Id. at 2.)

                                  11   Creditor seeks contempt sanctions as well as sanctions under 28 U.S.C. § 1927 arguing Mr. Yan

                                  12   has “willfully and repeatedly failed and refused to comply with orders of this Court in complete
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                                  13   bad faith.” Creditor requests $7,682.50 plus $500.00 per day for each day after August 31, 2017

                                  14   (the original production date ordered by this Court) until full compliance with court orders. (Id.)

                                  15          Mr. Yan then filed a Rule 59(e) motion requesting the Court amend its order directing Mr.

                                  16   Yan to produce his tax returns, arguing the Court “misconstrued” the holding in Garner v. United

                                  17   States, 424 U.S. 648 (1976) and that the returns are in fact covered by Mr. Yan’s Fifth

                                  18   Amendment privilege against self-incrimination. (Dkt. No. 76.) Yan requests the Court amend its

                                  19   order or alternatively hold an in-camera hearing. (Id. at 4:10-11.) .

                                  20          The following day, Creditor replied to Yan’s request, arguing the required records

                                  21   exception applies to the production privilege under the Amendment. (Dkt. No. 77.) That same

                                  22   day Creditor filed a memorandum of costs in the amount of $27,265.10 in total costs and $147.54

                                  23   in accrued interest. (Dkt. No. 78.)

                                  24   I.     Rule 59(e) Motion

                                  25          Mr. Yan’s Rule 59(e) motion requesting the Court amend its decision ordering the

                                  26   production of tax returns is denied. The Court has already addressed the Fifth Amendment

                                  27   privilege in the context of Mr. Yan’s tax returns. His motion adds nothing new.

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                                   1   II.      Mr. Yan’s Lack of Compliance

                                   2            A.     Tax Returns

                                   3            As there are no grounds for Mr. Yan’s refusal to produce his tax returns, he shall produce

                                   4   them to Creditor on or before February 20, 2018. As Creditor is no longer represented by counsel,

                                   5   Mr. Yan shall provide them directly to creditor Lei.

                                   6            B.     Documents Reviewed in Camera

                                   7            Creditor insists that in response to the Court’s in camera review and order to produce

                                   8   documents to Creditor, Mr. Yan produced “a number of documents containing wholesale

                                   9   redactions of critical information, namely the identities of the payors of monies that he recently

                                  10   received based on accounts receivable such that there is no way for Lei to levy any further

                                  11   amounts due.” (Dkt. No. 75 at 1:23-28.) Mr. Yan does not respond.

                                  12            Mr. Yan is ordered to reproduce to Creditor all of the documents submitted to the Court in
Northern District of California
 United States District Court




                                  13   camera as ordered on November 28, 2017. (Dkt. No. 72.) He shall do so by February 20, 2017.

                                  14   Mr. Yan may not redact any contents with the exception of the second paragraph of the March 1,

                                  15   2017 email from Mr. Yan to Florence Fung. His redaction of other materials violated this Court’s

                                  16   Order. As Creditor is no longer represented by counsel, Mr. Yan shall provide the documents

                                  17   directly to creditor Lei.

                                  18   III.     Sanctions, Costs, and Fees

                                  19            Creditor seeks sanctions of attorneys’ fees and costs from Mr. Yan pursuant to 28 U.S.C. §

                                  20   1927. The Court may award such fees against Mr. Yan even though he is a pro se litigant. See

                                  21   Wages v. IRS, 915 F.2d 1230, 1235 (9th Cir. 1990). In Wages, a pro se litigant attempted to file

                                  22   “an amended complaint that did not materially differ from one which the district court had already

                                  23   concluded did not state a claim,” and continually moved for “alterations in the district court’s

                                  24   original judgment despite that court’s clear unwillingness to change its mind.” Id. at 1235. The

                                  25   Ninth Circuit upheld the district court’s decision to sanction Wages pursuant to 28 U.S.C. § 1927

                                  26   and Rule 11 because Wages evidenced bad faith in multiplying the proceedings in the case

                                  27   “unreasonably and vexatiously.” Id. at 1236.

                                  28            Mr. Yan is a former an attorney who is not eligible to practice law in California, and
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                                   1   therefore has been representing himself in these proceedings pro se. Mr. Yan has “unreasonably

                                   2   and vexatiously” multiplied the judgment collection proceedings, most recently when he blatantly

                                   3   violated the Court’s Order that he produce his tax returns and the other documents reviewed in

                                   4   camera. Over the last five months the Court has issued three orders and held two hearings on this

                                   5   matter yet Mr. Yan continually refuses to comply with the Court’s production orders.

                                   6   Accordingly, sanctions pursuant to 28 U.S.C. § 1927 are warranted.

                                   7          Creditor is ordered to file a declaration clarifying the fees and costs she seeks under 28

                                   8   U.S.C. § 1927, including: (1) a statement of the services rendered by each person for whose

                                   9   services fees are claimed together with a summary of the time spent by each person, (2) a

                                  10   statement describing the manner in which time records were maintained, and (3) a brief

                                  11   description of relevant qualifications and experience and a statement of the customary hourly

                                  12   charges of each such person or of comparable prevailing hourly rates or other indication of value
Northern District of California
 United States District Court




                                  13   of the services. See N.D. Cal. Civ. L. R. 37-4(b)(3), 54-5(b).

                                  14   If Creditor is still seeking such fees, the declaration shall be filed on or before February 28, 2018.

                                  15          In addition, given Mr. Yan’s repeated refusals to comply with this Court’s orders of

                                  16   production, he shall be sanctioned $500 per day for each day after February 20, 2018 that he does

                                  17   not produce to Creditor the ordered documents. See Grimes v. CCSF, 951 F.2d 236, 239-41 (9th

                                  18   Cir. 2012); Fed. R. Civ. P. 37.

                                  19                                             CONCLUSION

                                  20          Mr. Yan is ordered to produce to Creditor on or before February 20, 2018:

                                  21          1.      His personal tax returns for the years 2014, 2015, and 2016.

                                  22          2.      All of the documents submitted to the Court in camera with no redactions except

                                  23   for the second paragraph of the March 1, 2017 email from Mr. Yan to Florence Fung.

                                  24          3.      Mr. Yan shall be sanctioned $500 for every day after February 20, 2018 that he

                                  25   does not comply with this Order and produce the documents.

                                  26          4.      On or before February 28, 2018 Creditor shall file a declaration from counsel

                                  27   detailing the costs and fees incurred as a result of Mr. Yan’s vexatious conduct as described above.

                                  28          This Order disposes of Docket Nos. 75 and 76.
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                                           Case 3:11-cv-01814-RS Document 83 Filed 02/09/18 Page 5 of 6




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                                   2          IT IS SO ORDERED.

                                   3   Dated: February 9, 2018

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                                                                                      JACQUELINE SCOTT CORLEY
                                   6                                                  United States Magistrate Judge
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                                  12
Northern District of California
 United States District Court




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                        YAN,
                                   7                                                          Case No. 11-cv-01814-RS (JSC)
                                                       Plaintiff,
                                   8
                                                v.                                            CERTIFICATE OF SERVICE
                                   9
                                        FU,
                                  10
                                                       Defendant.
                                  11

                                  12
Northern District of California




                                               I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S.
 United States District Court




                                  13
                                       District Court, Northern District of California.
                                  14
                                               That on February 9, 2018, I SERVED a true and correct copy(ies) of the attached, by
                                  15
                                       placing said copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by
                                  16
                                       depositing said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery
                                  17
                                       receptacle located in the Clerk's office.
                                  18
                                  19   Crystal Lei
                                       337 28th Avenue
                                  20   San Francisco, CA 94121
                                  21
                                       Demas W Yan
                                  22   100 Pine St #1250
                                       San Francisco, CA 94111
                                  23

                                  24   Dated: February 9, 2018
                                                                                          Susan Y. Soong
                                  25                                                      Clerk, United States District Court
                                  26
                                                                                          By:________________________
                                  27                                                      Ada Means, Deputy Clerk to the
                                  28                                                      Honorable JACQUELINE SCOTT CORLEY

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